                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )       Criminal No. 3:12-00170
                                                      )       Judge Trauger
[2] ABRAN ARELLANO-GARCIA                             )
                                                      )

                                            ORDER

       The court is in receipt of a letter from Abraham Arellano Garcia dated October 18, 2013.

       It is hereby ORDERED that the Clerk shall file this letter as part of the record in this

case. The Clerk is further directed to furnish to the defendant and to counsel for all parties a

copy of both the letter and this Order.

       It is hereby ORDERED that defense counsel shall personally visit with the defendant

where he is housed in an effort to repair the attorney-client relationship by informing the

defendant of the status of the case and sharing discovery with him.

       It is so ORDERED.

       Enter this 23rd day of October 2013.



                                                      ___________________________________
                                                              ALETA A. TRAUGER
                                                            United States District Judge




 Case 3:12-cr-00170         Document 106        Filed 10/23/13      Page 1 of 1 PageID #: 306
